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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 PYROTECHNICS MANAGEMENT, INC.,                    )
                                                   )
                  Plaintiff,                       )      Civil Action No. 2:19-cv-00893
                                                   )
             v.                                    )
                                                   )
 fireTEK,                                          )
                                                   )
                  Defendant.                       )

                                      NOTICE OF APPEAL

         Notice is hereby given that Plaintiff in the above-captioned case hereby appeals to the

United States Court of Appeals for the Third Circuit from the September 20, 2022 Judgment

Order (ECF No. 251).



                                                       Respectfully submitted:

                                                       DENTONS COHEN & GRIGSBY P.C.

                                                       By: /s/ Kevin C. Harkins
                                                          Kevin C. Harkins (Pa. I.D. 59915)
                                                          Fred L. Tolhurst (Pa. I.D. 22040)
                                                          Lucy E. Hill (Pa. I.D. 323731)
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                                                          Counsel for Plaintiff,
Dated: October 17, 2022                                   Pyrotechnics Management, Inc.
4173142.v1
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on the 17th day of October 2022, a true and correct copy of the

foregoing Notice of Appeal was filed and served via the Court’s ECF system.




                                                     /s/ Kevin C. Harkins
